                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                              CHATTANOOGA DIVISION


  STEVEN RUBENSTEIN,

         Plaintiff,                               Civil Action No. 1:19-cv-189-HSM-SKL

  v.

  THE UNIVERSITY OF TENNESSEE, et
  al.

         Defendants.

                         MOTION FOR EXTENTION OF TIME
                           TO RESPOND TO COMPLAINT

        COMES NOW Defendant Society of Actuaries (the “SOA”), pursuant to Fed. R. Civ.

 P. 6(b), and moves this Court for an extension of time to respond to the Complaint [Doc. 1]

 up to and including August 21, 2019. In support of this motion, the SOA states that Plaintiff

 has filed a Complaint consisting of 143 pages, hundreds of paragraphs (only some of which

 are numbered), and incorporating by reference additional pleadings and matters from prior

 cases which were dismissed by this Court and to which the SOA was not a named party, and

 the SOA needs more time to respond.

        This Court has authority to extend the deadline stated herein pursuant to Fed. R. Civ.

 P. 6(b), which provides:

        (b)     Extending Time.

                (1)     In General. When an act may or must be done within a specified
                time, the court may, for good cause, extend time:




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                       (A)    with or without motion or notice if the court acts, or if a
                request is made, before the original time or its extension expires; or

                        (B)     on motion made after the time has expired if the party
                failed to act because of excusable neglect.

 Fed. R. Civ. P. 6(b).

        Plaintiff filed this action on June 28, 2019 and served the SOA by process server

 sometime in early July. There is no proof of service on file with the Court, but if the SOA’s

 deadline to respond to the Complaint has passed, such has occurred due to excusable neglect.

 As noted by the Court in its Order of Assignment [Doc. 4], this case is related to previously

 case No. 1:16-cv-475-HSM-SKL, to which the SOA was not a party. The Complaint makes

 several references to a prior order of dismissal and other related proceedings from that 2016

 case, and in addition, is also substantially duplicative of a case currently pending between these

 parties in the United States District Court for the Eastern District of Arkansas. Attempting

 to reconcile these issues complicated the assessment of the matter, and as a result, the SOA

 only recently retained Tennessee counsel for representation in this matter.

        The SOA requests that the Court extend the deadline to respond to the Complaint up

 to and including August 21, 2019 for good cause and, if necessary, based on a finding of

 excusable neglect and the fact that the Plaintiff will suffer no prejudice if this brief extension

 is granted. This is the SOA’s first request to extend the deadline to respond to the Complaint.

        Respectfully submitted this 24th day of July, 2019.




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                                                       HUSCH BLACKWELL LLP

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                                                       Society of Actuaries


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this the 24th day of July, 2019, a true and
 correct copy of the foregoing was electronically filed using the Court’s CM/ECF system,
 which will automatically send notification of such filing to all attorneys of record. A service
 copy has also been forwarded to the following individual(s) via United States First Class Mail,
 postage prepaid:

        Steven J. Rubenstein, Plaintiff pro se
        502 River Street
        Chattanooga, TN 37405

                                                       /s/ K. Chris Collins
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                                                       Attorney for Defendant,
                                                       Accella Polyurethane Systems, LLC




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